Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 1 of 22 Pageid#: 364




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (Charlottesville Division)


  DAMIAN STINNIE, et al.,                              )
                                                       )        Case No.: 3:16-CV-00044
          Plaintiffs,                                  )
                                                       )
          v.                                           )
                                                       )
  RICHARD D. HOLCOMB,                                  )
                                                       )
          Defendant.                                   )
                                                       )


                  STATEMENT OF INTEREST OF THE UNITED STATES

        A driver’s license is often essential to a person’s well-being, including a person’s ability

 to maintain a job, pursue educational opportunities, or care for children or other family.

 Accordingly, the Supreme Court has recognized a driver’s license as a constitutionally protected

 interest. Plaintiffs allege that Virginia officials unconstitutionally deprive people of this

 important interest by automatically suspending the driver’s licenses of those who fail to pay

 court fines or fees, without providing adequate process and without assessing whether the failure

 to pay was willful or the result of a defendant’s inability to pay.

        The United States files this Statement of Interest to assist the Court in considering the

 important constitutional questions presented. It is the position of the United States that the

 suspension of a person’s driver’s license in response to the failure to pay court debt without

 providing a person with adequate notice and a meaningful opportunity to be heard prior to the

 suspension constitutes a deprivation of a protected interest without due process in violation of the

 Fourteenth Amendment. Further, suspending the driver’s licenses of those who fail to pay fines

 or fees without inquiring into whether that failure to pay was willful or instead the result of an


                                                   1
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 2 of 22 Pageid#: 365




 inability to pay may result in penalizing indigent individuals solely because of their poverty, in

 violation of the due process and equal protection clauses of the Fourteenth Amendment.

                             INTEREST OF THE UNITED STATES

        The United States has authority to file this Statement of Interest pursuant to 28 U.S.C.

 § 517, which permits the Attorney General to attend to the interests of the United States in any

 case pending in federal court. The United States has a strong interest in ensuring that state and

 local criminal justice systems operate in a manner that is consistent with constitutional

 requirements. The United States enforces the law enforcement misconduct provisions of the

 Violent Crime Control and Law Enforcement Act of 1994, 42 U.S.C. § 14141, which authorizes

 the Attorney General to file lawsuits seeking declaratory and injunctive relief to reform law

 enforcement conduct that deprives individuals of rights protected by the Constitution or federal

 law. Pursuant to this statute, the United States has conducted investigations and secured

 injunctive relief in civil cases to ensure that local justice systems respect the due process and

 equal protection rights of those charged with offenses. See, e.g., Dep’t of Justice, Civil Rights

 Division, Investigation of the Ferguson Police Department (2015) at 50-51, 101 (specifically

 identifying harms of imposing driver’s license suspensions in response to nonpayment of fines

 and fees); Consent Decree, United States v. City of Ferguson, Mo., 16-cv-180 (E.D. Mo. filed

 Feb. 10, 2016) [ECF No. 41] at ¶¶ 351-52 (setting forth requirements regarding driver’s license

 suspensions).

        The United States has also taken other action to address the specific problem of

 inequality in the imposition and enforcement of court fines and fees. In December 2015, the

 Department’s Office for Access to Justice, Civil Rights Division, and Office of Justice Programs

 convened a meeting of policymakers, judges, prosecutors, defense attorneys, and advocates to



                                                   2
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 3 of 22 Pageid#: 366




 discuss how certain practices with respect to the imposition and enforcement of criminal justice

 fines and fees—including the use of license suspensions as a means of coercing the payment of

 criminal justice fines and fees—can result in unlawful and harmful conduct. In September 2016,

 the Department held a second convening on these issues in order to highlight positive measures

 that have been implemented and identify continuing areas of concern.

         Additionally, in March 2016, the Department provided a package of resources, including

 a grant solicitation, to state and local courts to support the ongoing work of state judges, court

 administrators, policymakers, and advocates to ensure equal justice for all, regardless of a

 person’s financial circumstances. Together with the announcement of the grant program and

 other support, the Department also issued a guidance letter for state and local courts to clarify the

 legal framework that governs the enforcement of court fines and fees. Within that guidance, the

 Department raised concerns regarding using driver’s license suspensions as a debt collection

 tool, and made clear that “[i]f a Defendant’s driver’s license is suspended because of failure to

 pay a fine, such a suspension may be unlawful if the defendant was deprived of his due process

 right to establish inability to pay.” 1

                                             BACKGROUND

         Some jurisdictions in the United States authorize the suspension of driver’s licenses not

 only in situations in which a driver poses a risk to public safety, but also as a consequence for

 failing to pay court debt. 2 In California, for instance, reports show that over a recent eight-year

 period more than 4.2 million individuals, or 17 percent of California’s driving population, have

 1
          Principal Deputy Assistant Attorney General of the Civil Rights Division Vanita Gupta and
 Director of the Office of Access to Justice Lisa Foster, Dear Colleague Letter (Mar. 14, 2016)
 (hereinafter “March 14, 2016 Dear Colleague Letter”), available at
 https://www.justice.gov/crt/file/832461/download.
 2
          For clarity and consistency with the terminology used in the Complaint, the United States uses the
 term “court debt” herein to refer to all “fines, costs, forfeitures, restitution, or penalties” assessed by a
 court against a person resulting from a traffic or criminal proceeding. Complaint at ¶ 29.
                                                      3
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 4 of 22 Pageid#: 367




 had their driver’s licenses suspended as a result of a failure to appear or pay fines and fees. 3 In

 Virginia, the Department of Motor Vehicles reported that as of 2015, the driver’s licenses of

 approximately 900,000 individuals, or one in six licensed drivers, were under suspension for

 nonpayment of fines and court costs. See Complaint [ECF No. 1] at ¶¶ 327-28. 4

         While driver’s license suspensions vary in both process and scope across different

 jurisdictions, using driver’s license suspensions to compel the payment of outstanding court debt,

 and the resulting punishment of people who cannot afford to pay, has received significant

 attention in recent years. As the Department noted in its March 14, 2016 Dear Colleague Letter,

 researchers have raised concerns regarding the substantial harm this practice imposes on

 individuals, as well as its efficacy—including that it undermines public safety interests and

 inhibits a person’s ability to pay owed fines and fees. 5 Some jurisdictions have enacted, or are

 actively considering, legislation or other measures to limit the circumstances in which a driver’s

 license may be suspended. See, e.g., Mo. Ann. Stat. § 302.341 (limiting scope of Missouri’s

 practice of suspending driver’s licenses for nonpayment to cases involving non-minor moving

 violations); Wash. Rev. Code Ann. § 46.20.289 (ending Washington’s practice of suspending

 licenses for nonpayment in cases involving non-moving traffic violations). And specific license


 3
           Lawyers’ Committee for Civil Rights, Not Just a Ferguson Problem: How Traffic Courts Drive
 Inequality in California 13-14 (2015), available at http://www.lccr.com/not-just-ferguson-problem-how-
 traffic-courts-drive-inequality-in-california/.
 4
           “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as
 true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
 quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The United States therefore assumes the
 facts presented in the Plaintiffs’ Complaint to be true for purposes of this Statement of Interest.
 5
           See March 14, 2016 Dear Colleague Letter, supra note 1, at 6-7, n.7 (citing Am Ass’n of Motor
 Veh. Adm’rs., Best Practices Guide to Reducing Suspended Drivers 3 (2013)) (recommending that
 “legislatures repeal state laws requiring the suspension of driving privileges for non-highway safety
 related violations” and citing research supporting view that fewer driver suspensions for non-compliance
 with court requirements would increase public safety); Shaila Dewan, Driver’s License Suspensions
 Create Cycle of Debt, N.Y. Times, April 14, 2015, available at
 http://www.nytimes.com/2015/04/15/us/with-drivers-license-suspensions-a-cycle-of-debt.html
 (comparing driver’s license suspension practices and detailing impact of those practices).
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 5 of 22 Pageid#: 368




 suspension practices have been challenged on the grounds that they violate state or federal law.

 See, e.g., Hernandez v. California Dep’t of Motor Vehicles, No. RG16836460 (Super. Ct. of

 Alameda Cnty., filed Oct. 25, 2016); Rubicon Programs v. Solano County Superior Court, No.

 FCS047212 (Super. Ct. of Solano Cnty., filed June 15, 2016).

         Plaintiffs, four individuals whose driver’s licenses have been suspended due to their

 failure to pay fines, fees, or costs assessed by Virginia courts, filed a Complaint in July 2016

 against Richard D. Holcomb in his official capacity as the Commissioner of the Virginia

 Department of Motor Vehicles (hereinafter, “Defendant”), alleging that the specific practices

 Virginia employs to suspend the driver’s licenses of those who fail to pay fines or fees violates

 the Constitution. See generally Complaint. In part, Plaintiffs allege that Defendant

 automatically suspends the driver’s licenses of those who miss court payments (regardless of

 whether those payments are related to a traffic or non-traffic offense) without providing an

 adequate opportunity to be heard, and without any inquiry into whether the missed payment was

 the result of an inability to pay. Id. at ¶¶ 409-28. Plaintiffs seek declaratory relief, as well as

 injunctive relief prohibiting Defendant from suspending driver’s licenses due to nonpayment of

 fines and fees until Virginia can do so in a constitutional manner. Complaint at 54-55.

        On October 3, 2016, Defendant moved to dismiss Plaintiffs’ Complaint. Motion to

 Dismiss [ECF No. 9]. In addition to arguing that Plaintiffs’ Complaint is procedurally barred,

 Defendant also argues that Plaintiffs’ due process and equal protection claims fail to state a claim

 upon which relief can be granted. Memorandum in Support of Defendant’s Motion to Dismiss

 [ECF No. 10] (hereinafter, “Defendant’s Memorandum”) at 30-40. 6




 6
        The United States does not take any position on Defendant’s claim that the Complaint is
 procedurally barred, or any other issue in this litigation not addressed herein.

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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 6 of 22 Pageid#: 369




                                           DISCUSSION

 A.     The Fourteenth Amendment Guarantee of Procedural Due Process Prohibits the
        Automatic Suspension of a Driver’s License for Failure to Pay Court Debt Absent
        Notice and a Meaningful Opportunity to be Heard

        The cornerstone of due process is that when the deprivation of a protected property

 interest is at stake, the state must provide notice and the opportunity to be heard “at a meaningful

 time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965); see also

 Mathews v. Eldridge, 424 U.S. 319, 333 (1976); Fuentes v. Shevin, 407 U.S. 67, 80-82 (1972);

 Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314-315 (1950) (“An elementary

 and fundamental requirement of due process in any proceeding . . . is notice reasonably

 calculated, under all the circumstances, to apprise interested parties of the pendency of the action

 and afford them an opportunity to present their objections.”) (citations omitted).

        A driver’s license is a protected interest that, once issued, cannot be revoked or

 suspended “without that procedural due process required by the Fourteenth Amendment.” Bell v.

 Burson, 402 U.S. 535, 539 (1972) (citations omitted). As with all deprivations of protected

 interests, the specific process that must be afforded in suspending a person’s driver’s license

 varies depending on what “the particular situation demands.” Mathews, 424 U.S. at 334 (internal

 quotation marks and citation omitted). The Supreme Court has articulated a three-part inquiry

 for evaluating the constitutional sufficiency of the process provided when a protected interest is

 affected: (1) the nature of the private interest that will be affected by the governmental action;

 (2) the risk of erroneous deprivation and the probable value of requiring additional procedural

 safeguards; and (3) the government’s interest, including the fiscal and administrative burdens

 that additional procedural safeguards would entail. Id. at 335 (citations omitted).

        Applying these factors in cases involving driver’s license suspensions, the Supreme Court

 has found varying degrees of process due depending on the nature and circumstances of the
                                                  6
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 7 of 22 Pageid#: 370




 suspension. 7 In Bell, the Court considered a challenge to a statutory scheme requiring the

 suspension of the driver’s license of any uninsured driver who failed to post security following

 an accident, regardless of whether that driver was at fault for the accident. Bell, 402 U.S. at 535-

 37. The Court held that, in light of the fact that there was no emergency circumstance requiring

 the immediate suspension of the driver’s license, due process required the driver to be provided

 with a meaningful opportunity to be heard (though not necessarily a full evidentiary hearing)

 before the license suspension occurred. 8 Id. at 540-42. In other circumstances where

 suspensions are more directly related to a state’s interest in maintaining public safety on its roads

 and highways, the Court has found that a post-suspension hearing is sufficient. In Dixon v. Love,

 431 U.S. 105, 113-15 (1977), for instance, the Court upheld a statute requiring the suspension or

 revocation of a driver’s license if a driver is repeatedly involved in accidents or convicted of

 traffic offenses. Id. In those circumstances, the Court held, the statute’s provision of a full

 evidentiary hearing as soon as practicable was sufficient. Id. at 114-15. In Mackey v. Montrym,

 443 U.S. 1, 13-17 (1979), the Court upheld the suspension of a driver’s license after an

 individual was arrested for driving under the influence and refused to take a breath-analysis test,

 because suspension “substantially served” the government’s interest in public safety.

         Whereas Bell, Dixon, and Mackey involved challenges to the timing or scope of the

 opportunity to be heard regarding a driver’s license suspension, here Plaintiffs allege that


 7
          Citing to Davis v. Williams (4th Cir. Va. Apr. 3 1996) (unpublished), Defendant argues that the
 driver’s license suspension statute at issue in this litigation has already been found to comport with
 procedural due process requirements. See Defendant’s Memorandum at 32. However, the unpublished,
 four-paragraph decision in Davis relies on the fact that the claims were procedurally barred and does not
 address the procedural due process claims at issue in this case.
 8
          While the Supreme Court decided Bell four years before it decided Mathews, the Court’s analysis
 in these cases was grounded in similar considerations. Compare Bell, 402 U.S. at 539-40 (weighing
 individual interest, sufficiency of existing process, and government interest), with Mathews, 424 U.S. at
 335 (instructing that courts consider individual interest, risk of erroneous deprivation and benefits of
 additional process, and government interest).
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 8 of 22 Pageid#: 371




 Defendant suspends the driver’s licenses of those who miss required court payments without

 providing an opportunity to be heard at all. Complaint at ¶ 39. Rather, Plaintiffs allege that

 individuals are only provided with basic notice of the license suspension and no means to

 challenge that suspension. Complaint at ¶¶ 275, 277. Specifically, Plaintiffs allege that after

 fines, costs, and fees are assessed, courts provide individuals with a form to acknowledge that the

 failure to pay the identified amount will result in the automatic suspension of the person’s

 driver’s license. Id. Plaintiffs further allege that the form provided does not notify people of any

 availability of a hearing regarding the suspension, nor is a hearing available in fact. Id. at

 ¶¶ 291-93. If, after 30 days, payment has not been received, Plaintiffs allege that the court

 automatically transmits a record of nonpayment to the Virginia Department of Motor Vehicles

 (DMV). Id. at ¶¶ 279, 284, 286. According to Plaintiffs, upon receipt of such a record, the

 DMV immediately suspends the individual’s driver’s license without any further notice and

 without conducting any separate inquiry into the reason for the default or the appropriateness of

 the suspension. Id. at ¶¶ 285-90. Plaintiffs state that suspensions remain in effect until all

 outstanding court debt is paid in full, or a payment plan is secured. Id. at ¶ 296. Finally,

 Plaintiffs allege that a reinstatement fee of at least $145 must also be paid before the suspension

 is lifted. Id. at ¶ 297.

         Assuming these allegations to be true, as required at the motion to dismiss stage, and

 based upon relevant precedent and consideration of the Mathews factors, the driver’s license

 suspension practices employed by Defendant fail to comport with due process requirements.

 Turning to the first Mathews factor, a person’s interest in continuing to hold a valid driver’s

 license “is a substantial one.” Mackey, 443 U.S. at 11; see also Dixon, 431 U.S. at 113; Bell, 402

 U.S. at 539. License suspensions can impose significant harm on the well-being of individuals



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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 9 of 22 Pageid#: 372




 and their families. Bell, 402 U.S. at 539. Depriving individuals of the use of their vehicle can

 imperil their ability to earn a living, pursue educational opportunities, and care for family. 9

 These harms may be particularly acute in rural areas of Virginia where there is limited public

 transportation and where essential services, such as health care and schools, may well be long

 distances from people’s homes. A driver’s license suspension is thus a significant interest, the

 deprivation of which can impose substantial harm. Cf. Memphis Light, Gas & Water Div. v.

 Craft, 436 U.S. 1, 18 (1978) (noting that utility service “is a necessity of modern life” and that

 the discontinuance of service “for even short periods of time may threaten health and safety” in

 holding that due process required greater procedural protections than were afforded);

 Goldberg v. Kelly, 397 U.S. 254, 264 (1970) (citations omitted) (noting that welfare benefits

 provided “the means to obtain essential food, clothing, housing, and medical care” in holding

 that due process required hearing before termination of benefits).

         The Supreme Court has also instructed that the duration of any potentially wrongful

 deprivation is an important part of assessing “the impact of official action on the private interest

 involved.” Mackey, 443 U.S. at 12 (citation omitted); Mathews, 424 U.S. at 341. Here,

 Plaintiffs allege that under Virginia’s statutory scheme a driver’s license suspension for a missed

 payment remains in effect until the debt triggering the suspension is paid in full (along with a




 9
          See, e.g., Robert Cervero, et al., Transportation as a Stimulus of Welfare-to-Work: Private versus
 Public Mobility, 22 J. PLAN. EDUC. & RES. 50 (2002); Alan M. Voorhees, et al., Motor Vehicles
 Affordability and Fairness Task Force: Final Report, at xii (2006), available at
 http://www.state.nj.us/mvc/pdf/About/AFTF_final_02.pdf (a study of suspended drivers in New Jersey,
 which found that 42 percent of people lost their jobs as a result of the driver’s license suspension, that 45
 percent could not find another job, and that this had the greatest impact on seniors and low-income
 individuals). Cf. Pew Research Center, The Fading Glory of The Television and Telephone 1 (2014),
 http://assets.pewresearch.org/wp-content/uploads/sites/3/2011/01/Final-TV-and-Telephone.pdf (last
 accessed October 17, 2016) (noting 2010 study showing that 86 percent of Americans believe that a car is
 a necessity).
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 10 of 22 Pageid#: 373




  reinstatement fee), which may result in a prolonged deprivation, particularly for indigent

  defendants. Complaint at ¶¶ 296-97. 10

           With respect to the second Mathews factor, there is a significant risk that the alleged

  practices will result in erroneous deprivations of driver’s licenses. Plaintiffs allege that driver’s

  licenses are automatically suspended on the basis of determinations by court clerks that are

  susceptible to clerical errors that may result in wrongful revocation, Complaint at ¶¶ 286-89—

  e.g., because the license suspension was requested against the wrong person or because fines and

  fees were actually paid but improperly recorded. Additionally, there are a number of situations

  where a person may not have paid the fine, but revocation may nonetheless be inappropriate—

  e.g., if a person never received notice of the payment due, if a person was hospitalized or

  otherwise incapacitated for the duration of the time period during which payment could be made,

  or because financial circumstances made it impossible to pay, see infra at 14-19. Indeed,

  Plaintiffs allege that several of these things happened in their cases. Complaint at 12-13, 15, 19,

  24-25.

           Virginia’s existing procedures are insufficient to protect against these erroneous

  deprivations and do not serve as an adequate substitute for a meaningful pre-deprivation hearing

  and appropriate notice of that hearing. Defendant argues that the “due process that is provided in

  connection with these Plaintiffs’ underlying criminal and traffic convictions afford them all the

  process that is due.” Defendant’s Memorandum at 33. Yet the process provided during the

  adjudication of individuals’ underlying offenses is targeted at ensuring that they have notice of

  10
           Defendant’s reliance on the availability of a “restricted license” for those who have had their
  licenses suspended as evidence that these individuals may secure the ability to drive is misplaced.
  Defendant’s Memorandum at 11. According to the Complaint, none of the named plaintiffs were in fact
  eligible for this restricted license, in part because they are not currently employed. Complaint at ¶¶ 42,
  118. Further, even for those eligible and able to secure a restricted license, such licenses are only valid
  for six months. Va. Code § 46.2-395(E). Restricted licenses are thus unavailable in many cases and an
  inadequate protection against wrongful driver’s license suspensions.
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 11 of 22 Pageid#: 374




  the charges against them and a meaningful opportunity to be heard with respect to those charges.

  That process does not provide any opportunity to be heard regarding the event that triggers the

  driver’s license suspension—namely, a person’s failure to pay the court debt that stems from the

  underlying conviction. Indeed, courts do not assess fines or fees until the end of the process

  provided in connection with the underlying traffic or criminal offense; a person’s failure to pay

  those fines or fees thus necessarily occurs after the conclusion of that process. The

  circumstances here are therefore distinct from those in Dixon, 431 U.S. at 113-14. While the

  Dixon Court concluded that the risk of erroneous deprivation was low in part because due

  process was afforded in the underlying convictions, there the convictions themselves—and not

  any other event, like a person’s failure to pay—automatically triggered the driver’s license

  suspension. Id. 11

          By not providing any forum for individuals facing the suspension of their licenses to be

  heard, any errors that do occur are likely to persist, with compounding collateral consequences.

  As the Supreme Court has recognized, erroneous deprivations of driver’s licenses are particularly

  troubling because the state “will not be able to make a driver whole for any personal

  inconvenience and economic hardship suffered by reason of any delay in redressing an erroneous


  11
           Similarly, the availability of appellate review of a defendant’s underlying conviction does not
  satisfy the Commonwealth’s obligation to provide a hearing regarding the defendant’s failure to pay fines
  and costs that resulted from that conviction. Defendant’s Memorandum at 32. Plaintiffs do not seek to
  re-litigate the facts related to the underlying conviction, but rather the appropriateness of the license
  suspension itself. See Warner v. Trombetta, 348 F. Supp. 1068, 1071 (M.D. Pa. 1972) (requiring
  administrative hearing for license suspension that resulted from guilty plea because even if the underlying
  conviction cannot be contested, there still remains the possibility of error, including misidentification of
  licensee, miscalculation of fine by the court, or errors on the report of conviction form), aff’d, 410 U.S.
  919 (1973).
           Defendant also points to the availability of a post-conviction “show cause” hearing to challenge
  outstanding fines and fees. Defendant’s Memorandum at 32-33. However, these show-cause hearings
  can be convened only by the court or a prosecuting attorney and are not required by statute. Va. Code
  Ann. § 19.2-358(A). Nor does it appear any show-cause hearing was provided to any Plaintiff. See
  generally Complaint. Additionally, the hearings address defaults of deferred payments or installment
  plans, not erroneous deprivations of driver’s licenses. See Va. Code Ann. § 19.2-358(A).
                                                      11
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 12 of 22 Pageid#: 375




  suspension through post-suspension review procedures.” Mackey, 443 U.S. at 11. To be clear,

  due process does not require that the process afforded to individuals is entirely free of error. See

  id. at 13; Mathews, 424 U.S. at 344. Nonetheless, absent basic procedural protections—

  including a meaningful pre-deprivation hearing that includes an assessment of the reason for

  nonpayment—the risk of error under the circumstances alleged by Plaintiffs is substantial and

  not easily redressed.

         Turning to the third Mathews factor, the Commonwealth’s relevant interests and the

  fiscal and administrative burdens of additional or substitute procedural requirements do not

  outweigh the importance of providing more substantial procedural protections. Courts have

  recognized that states have a strong interest in using driver’s license suspensions as a way to

  protect public safety by preventing drivers with habitually unsafe driving records from

  continuing to drive. See Dixon, 431 U.S. at 113-14; Mackey, 443 U.S. at 13-17. Here, however,

  license suspensions are not imposed in response to an identified threat to public safety, but rather

  in response to missed payments and in order “to compel future compliance with a court order.”

  Defendant’s Memorandum at 36. Indeed, research shows that suspending driver’s licenses for

  nonpayment of fines and fees actually undermines public safety by diverting law enforcement

  resources away from traffic violations that do pose a risk to the public and by leading to more

  unlicensed and uninsured drivers on the roads. See supra note 5.

         To be sure, the state has an interest in ensuring that offending drivers comply with court

  orders and bear responsibility for any offense of which they are convicted. But courts have

  found that this interest is not on par with the state’s interest in protecting public safety, and thus

  does not provide as strong a justification for failing to provide basic procedural protections. See,

  e.g., Dixon, 431 U.S. at 113-14 (finding that “the important public interest in safety on the roads



                                                    12
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 13 of 22 Pageid#: 376




  and highways, and in the prompt removal of a safety hazard . . . . fully distinguishes” the case

  from Bell v. Burson, where the purpose “was to obtain security from which to pay any judgments

  against the licensee”) (citations and internal quotation marks omitted); Mackey, 443 U.S. at 13-

  17 (1979) (noting that “the paramount interest the Commonwealth has in preserving the safety of

  its public highways, standing alone, fully distinguishes this case from Bell,” as courts have

  “accorded the states great leeway in adopting summary procedures to protect public health and

  safety”) (citations omitted); cf. Tomai-Minogue v. State Farm Mut. Aut. Ins. Co., 770 F.2d 1228,

  1235 (4th Cir. 1985) (finding post-deprivation hearing to be adequate where statute required

  driver’s license suspensions against those who failed to satisfy automobile accident

  judgments). 12

          Further, automatic driver’s license suspensions do not further the Commonwealth’s

  interest in ensuring compliance with court orders—particularly with respect to indigent

  defendants, who remain unable to pay court-ordered fines and fees after their driver’s license

  suspension and may become less able to pay in light of the adverse impact of the suspension on

  their employment and their lives. Nor would the Commonwealth’s interest in compelling the

  payment of outstanding court debt be substantially compromised by providing individuals at risk

  of having their licenses suspended with a meaningful pre-deprivation opportunity to be heard.


  12
           Although the Commonwealth’s interest in Tomai-Minogue, as here, focused on the collection of
  money, the court’s analysis makes clear that a license suspension for failure to pay a traffic accident
  judgment is directly related to public safety because it ensures that drivers can be held responsible, and
  injured parties made whole, for harms occurring on roadways, which in turn deters reckless driving. See
  Tomai-Minogue, 770 F.2d at 1235 (acknowledging that public safety concerns heighten the state’s interest
  in swift suspension of a driver’s license, as the interest in ensuring that motorists satisfy judgments “is
  anything but trivial when accidents involve loss of human life, injury to other motorists, and extensive
  property damage.”). No such heightened interest exists in the present case, where license suspensions are
  used to compel the payment of court debts regardless of whether those debts are connected in any way to
  road safety. Further, the court’s determination that a post-deprivation hearing satisfied due process in
  Tomai-Minogue was also influenced by the particular procedural posture of that case, namely the
  administrative complexities of requiring a pre-deprivation forum to challenge personal jurisdiction as the
  plaintiff sought. Id. at 1236.
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 14 of 22 Pageid#: 377




  Cf. Mackey, 443 U.S. at 18 (finding that “[t]he summary and automatic character of the

  suspension sanction available under the statute is critical to attainment of [the statutory]

  objectives” because a “pre-suspension hearing would substantially undermine the state interest in

  public safety by giving drivers significant incentive to refuse the breath-analysis test”).

         Given the importance of driver’s licenses to those who possess them, the significant risk

  of erroneous suspensions due to the lack of a meaningful opportunity for individuals to be heard

  regarding the facts giving rise to a driver’s license suspension, and the nature of the

  Commonwealth’s interest as well as the impact additional procedural protections would have on

  that interest, Defendant’s driver’s license suspension practices fail to comport with procedural

  due process requirements.

  B.     Automatically Suspending an Individual’s Driver’s License for Failure to Pay Court
         Debt Without Any Assessment of the Individual’s Ability to Pay or Alternative
         Means of Securing the Government’s Interest Violates the Fourteenth Amendment

         The Fourteenth Amendment prohibits “punishing a person for his poverty.” Bearden v.

  Georgia, 461 U.S. 660, 671 (1983). Here, Defendant’s practice of automatically suspending the

  driver’s license of any person who fails to pay outstanding court debt—without inquiring into

  ability to pay—violates that constitutional principle. Its result is that indigent defendants who

  cannot afford their fines and fees have their driver’s licenses suspended, while defendants who

  can afford to pay do not.

         In a long line of cases beginning with Griffin v. Illinois, 351 U.S. 12, 16 (1956), the

  Supreme Court has made clear that conditioning access or outcomes in the justice system solely

  on a person’s ability to pay violates the Fourteenth Amendment. In Griffin, the Supreme Court

  held that a criminal appellant could not be denied the right to appeal based on an inability to pay

  a fee, finding that “[i]f [the state] has a general policy of allowing criminal appeals, it cannot



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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 15 of 22 Pageid#: 378




  make lack of means an effective bar to the exercise of this opportunity.” Id. at 24 (Frankfurter,

  J., concurring). In Williams v. Illinois, 399 U.S. 235 (1970), the Court found that a state could

  not incarcerate an indigent individual beyond the statutory maximum term on account of missed

  fine and fee payments, because if that incarceration “results directly from an involuntary

  nonpayment of a fine or court costs we are confronted with an impermissible discrimination that

  rests on ability to pay.” Id. at 240-41. And in Tate v. Short, 401 U.S. 395 (1971), the Court

  found that a state could not convert a defendant’s unpaid fine for a fine-only offense to

  incarceration because that would subject him “to imprisonment solely because of his indigency.”

  Id. at 397-98.

         In Bearden, the Court elaborated on this principle in holding that the Fourteenth

  Amendment prohibits a state from revoking an indigent defendant’s probation for failure to pay a

  fine and restitution without first “inquir[ing] into the reasons for the failure to pay.” Bearden,

  461 U.S. at 672. The Court also concluded that, for defendants who could not afford to pay fines

  or fees imposed for the purposes of punishment, “it is fundamentally unfair to revoke probation

  automatically without considering whether adequate alternative methods of punishing the

  defendant are available.” Bearden, 461 U.S. at 668-69.

         While Griffin, Williams, Tate, and Bearden were cases in which a criminal defendant’s

  liberty interest was directly implicated, “Griffin’s principle has not been confined to cases in

  which imprisonment is at stake.” M.L.B. v. S.L.J., 519 U.S. 102, 111 (1996). Rather, the

  constitutional principle reaffirmed by these cases prohibits the imposition of adverse

  consequences against indigent defendants solely because of their financial circumstances,

  regardless of whether those adverse consequences take the form of incarceration, reduced access

  to court procedures, or some other burden. The Supreme Court has, for instance, held that an



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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 16 of 22 Pageid#: 379




  indigent defendant convicted of nonfelony offenses could not be denied an appellate record even

  though his convictions resulted in fines, not incarceration. See Mayer v. Chicago, 404 U.S. 189,

  197 (1971) (noting that the “invidiousness of the discrimination that exists when criminal

  procedures are made available only to those who can pay is not erased by any differences in the

  sentences that may be imposed”). The Supreme Court has also applied this principle in cases

  arising in entirely non-criminal contexts. See, e.g., M.L.B., 519 U.S. at 124 (indigent person

  could not be denied appeal of decision terminating parental rights due to inability to pay court

  costs); Boddie v. Connecticut, 401 U.S. 371, 382-83 (1971) (a married couple’s divorce could

  not be denied based on inability to pay court costs).

         Despite the clearly established constitutional principle of equal access to justice

  articulated in Bearden and other cases, Defendant argues that even if its practices resulted in

  indigent defendants having their driver’s licenses suspended because they could not afford to pay

  outstanding court debt, this practice would fall outside of the Fourteenth Amendment’s

  prohibition on disparate treatment. See Defendant’s Memorandum at 36-40. Specifically,

  Defendant asserts that Plaintiffs have failed to allege either discriminatory effect or

  discriminatory intent as required by equal protection clause doctrine. Id. This argument is

  misplaced. In Bearden, the Supreme Court explained that because “[d]ue process and equal

  protection principles converge in the Court’s analysis in these cases,” the traditional equal

  protection framework does not apply. Bearden, 461 U.S. at 665. Given that “indigency in this

  context is a relative term rather than a classification, fitting the problem of this case into an equal

  protection framework is a task too Procrustean to be rationally accomplished.” Id. at 666 n.8

  (citation and internal quotation marks omitted); see also M.L.B., 519 U.S. at 127 (explicitly

  declining to apply traditional equal protection clause framework in holding Constitution requires



                                                    16
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 17 of 22 Pageid#: 380




  availability of appellate review of the termination of parental rights). Instead, in determining

  whether a particular practice violates the constitutional prohibition on “punishing a person for his

  poverty,” courts must assess “the nature of the individual interest affected, the extent to which it

  is affected, the rationality of the connection between legislative means and purpose, [and] the

  existence of alternative means for effectuating the purpose.” Bearden, 461 U.S. at 666-67

  (citation omitted; brackets in original).

         Applying these factors here, and assuming the facts alleged in the Complaint,

  Defendant’s practice of automatically suspending the driver’s license of a defendant who fails to

  pay owed court debt without any inquiry into the defendant’s financial circumstances—i.e.,

  whether the nonpayment was willful or the result of an inability to pay—violates the Fourteenth

  Amendment.

         The individual interest in maintaining possession of a driver’s license “is a substantial

  one,” Mackey, 443 U.S. at 11, and the practices at issue significantly impair that interest. As set

  forth in detail supra at 8-10, driver’s licenses are often crucial to a person’s well-being. Indeed,

  the interest in a driver’s license may be even greater for indigent persons without means to

  secure alternate methods to provide care for themselves or their families. 13 See Mayer, 404 U.S.

  at 197 (noting that penalty other than incarceration “may bear as heavily on an indigent accused

  as forced confinement[,]” and stressing that “[t]he collateral consequences of conviction may be

  even more serious”). Further, suspending a person’s driver’s license entirely deprives that

  person of the lawful ability to drive, as every state prohibits driving without a license or with a

  suspended license. Additionally, Virginia is one of 41 states, as well as the District of Columbia,

  where a first conviction for driving with a suspended license may carry a sentence of

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          See, e.g., Mikayla Bouchard, Transportation Emerges as Crucial to Escaping Poverty, N.Y.
  Times, May 7, 2015, http://www.nytimes.com/2015/05/07/upshot/transportation-emerges-as-crucial-to-
  escaping-poverty.html.
                                                   17
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 18 of 22 Pageid#: 381




  incarceration. See Va. Code Ann. §§ 46.2-301, 18.2-11; see also Driving While Revoked,

  Suspended, or Otherwise Unlicensed: Penalties By State, National Conference of State

  Legislatures, http://www.ncsl.org/research/transportation/driving-while-revoked-suspended-or-

  otherwise-unli.aspx (last accessed October 31, 2016). This risk is all too real for people who

  have no other option but to drive unlawfully in order to work, care for their children, or attend

  crucial medical appointments.

          Further, the automatic suspension of driver’s licenses for failure to pay fines or fees does

  not advance a state’s inherent interest in promoting public safety, see supra at 12-13, nor is it an

  effective means of achieving the identified purpose of this practice, see supra at 13-14—namely

  compelling “future compliance with a court order.” Defendant’s Memorandum at 36. This is

  particularly true with respect to defendants who have failed to pay fines or fees because they

  could not afford to do so; they will not have any greater ability to pay after their license is

  suspended. See Bearden, 461 U.S. at 670 (“Revoking the probation of someone who through no

  fault of his own is unable to make restitution will not make restitution suddenly forthcoming.”).

  Indeed, in light of the impact a driver’s license suspension can have on a person’s ability to

  maintain employment, see supra at 9, in many cases suspending a person’s license may impair

  that person’s ability to satisfy outstanding court debt and thus frustrate, rather than advance, the

  interest identified here. 14

          Further, as the Court made clear in Bearden, there are alternative means, other than

  attempting to compel the payment of fines or fees through driver’s license suspensions, for

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           See Arthur W. Pepin, Conference of State Court Administrators, 2015-2016 Policy Paper, The
  End of Debtors’ Prisons: Effective Court Policies for Successful Compliance with Legal Financial
  Obligations 5 (2016), citing Alicia Bannon, Mitali Nagrecha and Rebekah Diller, Criminal Justice Debt:
  A Barrier to Reentry 19 (2010) (“Because of the detrimental effects suspensions have on the employment
  prospects of indigent people and because debt-related suspensions have no relation to driver safety, the
  practice of suspending licenses for failure to pay fees is completely lacking in rehabilitative or deterrent
  value.”).
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 19 of 22 Pageid#: 382




  securing the Commonwealth’s underlying interest in punishing crimes and traffic violations of

  indigent defendants. These alternatives include reducing fines or fees to a manageable amount in

  accordance with a person’s ability to pay, offering community service programs, or requiring the

  completion of coursework, such as traffic safety classes. 15 See Bearden, 461 U.S. at 672 (noting

  that “[t]he State is not powerless to enforce judgments against those financially unable to pay a

  fine” and highlighting alternative mechanisms available to states, such as community service)

  (citation and internal quotation marks omitted; alteration in original). Absent the use of these

  alternative mechanisms, indigent defendants who are unable to pay the fines and fees they owe

  face the suspension of their driver’s license, while defendants who can afford to pay do not. This

  disparity is “wholly contingent on one’s ability to pay” in violation of constitutional

  requirements. M.L.B., 519 U.S. at 127 (citing Williams, 399 U.S. at 242) (internal quotation

  marks omitted).

          In light of these factors and Plaintiffs’ factual allegations, the practice of automatically

  suspending an indigent person’s driver’s license for failure to pay money owed to a court without

  adequate consideration of the person’s ability to pay violates the Fourteenth Amendment.

                                              CONCLUSION

          For the foregoing reasons, the United States respectfully requests that the Court conclude

  that Plaintiffs have set forth a plausible claim for relief that the alleged driver’s license


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           As the Department of Justice has recognized, in certain circumstances payment plans may be one
  appropriate alternative for individuals who cannot afford to pay the entire amount owed during the
  required time period. See Dear Colleague Letter, supra note 1, at 4. Defendant asserts that courts in
  Virginia provide the opportunity for people to enter “deferred payment schemes” in order to avoid
  automatic license suspension upon default. Defendant’s Memorandum at 33. However, if, as Plaintiffs
  allege, there are conditions restricting access to payment plans, including criminal history requirements,
  inflexible minimum payments, or substantial down payments, payment plans may be insufficient to
  adequately alleviate impairment of ineligible individuals’ constitutional rights. Additionally, some
  individuals may lack the ability to pay any money for the foreseeable future. For these persons, states
  must consider alternative options that do not require monetary payment.
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Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 20 of 22 Pageid#: 383




  suspension practices violate the Fourteenth Amendment by failing to (1) comport with

  procedural due process requirements and (2) consider defendants’ ability to pay.



                                                      Respectfully submitted,



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                                                 20
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 21 of 22 Pageid#: 384




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                                       21
Case 3:16-cv-00044-NKM-JCH Document 27 Filed 11/07/16 Page 22 of 22 Pageid#: 385




                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 7, 2016, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system. All participants in the case are CM/ECF users,

  and the CM/ECF system will provide electronic service.

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                                                 22
